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                           UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA


  IN RE:                                                   Misc. Case No. 15-00204 (TPA)

  ALL MATTERS RELATED TO NORTH
  AMERICAN REFRACTORIES                                    Chapter 11
  COMPANY, et al. in Case No. 02-20198, as
  affected by the May 24, 2013 Order
  Entering Final Decree entered at Doc. No.
  7940
         Debtors


  HONEYWELL INTERNATIONAL INC.,                            Adv. Proc. No. 21-2097

                                Plaintiff,                 Related to Docs: 205, 223

                 v.

  NORTH AMERICAN REFRACTORIES
  COMPANY ASBESTOS PERSONAL
  INJURY SETTLEMENT TRUST,

                                Defendant.


                                             STIPULATION

        Honeywell International, Inc. (“Honeywell”) and The Law Offices of Peter T. Nicholl

 (“Nicholl”) have conferred and have agreed to the following resolution with regard to the subpoena

 served upon Nicholl by Honeywell in connection with the above-referenced action (the

 “Subpoena”), which is the subject of Honeywell’s Motions to Compel, Transfer, and Expedite (the

 “Honeywell Motions”) and Nicholl’s Motion for a Protective Order (the “Nicholl Motion”), which

 are all pending in the above-referenced action. Honeywell and Nicholl stipulate and agree as

 follows:

        1.      Nicholl will produce all documents it submitted to Mazars in connection with all

 550 claimants that have been the subject of random or targeted audits. Nicholl will make a
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 substantial production of documents by February 4, 2022, and shall complete its production by

 February 11, 2022.

         2.      Nicholl will produce all exposure affidavits it filed with all other asbestos trusts

 that are found on the Verus or Trust Online processing facilities for the 88 claimants listed on

 Schedule C to the Subpoena who have also been subject to a random or targeted audit by Mazars.

 Nicholl will also produce all exposure affidavits it filed with all other asbestos trusts that are found

 on the Verus or Trust Online processing facilities for 72 claimants randomly selected from

 Schedule C claimants who are not encompassed within the 88 claimants. Nicholl is not required

 to produce affidavits that have been archived or deactivated by the relevant processing facility.

 Nicholl will begin rolling productions of these documents by February 4, 2022, with a second

 production to be made by February 11, 2022, and shall complete its production by February 15,

 2022.

         3.      Nicholl will not make any redactions to the documents it produces as described in

 paragraphs 1 and 2.

         4.      Nicholl will produce emails and other communications relating to random and

 targeted audits it had with Mazars between November 1, 2017 and April 30, 2019. Nicholl will

 begin rolling productions of these documents by February 4, 2022, with a second production to be

 made by February 11, 2022, and shall complete its production by February 15, 2022. Nicholl will

 not make any redactions to the documents it produces as described in this paragraph, except to the

 extent necessary to remove content subject to the attorney-client privilege or work-product

 doctrine.

         5.      Honeywell agrees that documents Nicholl produces pursuant to the Subpoena will

 not be used directly, indirectly, or derivatively, for any purpose other than litigation of Adversary




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 Proceeding No. 21-2097, including any appeal thereof.

          6.   Nicholl will designate all documents it produces in response to the Subpoena as

 Highly Confidential under the Protective Order entered in this case and Honeywell agrees not to

 challenge such designation.

          7.   For any documents produced by Nicholl that Honeywell submits to the Bankruptcy

 Court, Honeywell will redact the information specified by Fed. R. Civ. P. 5.2(a). Honeywell will

 also move to file any such documents under seal, although Nicholl understands that the ultimate

 decision concerning sealing is made by the Bankruptcy Court.

          8.   Nicholl will execute a business records declaration that complies with Fed. R. Evid.

 803(6) & 902(11) as to all documents Nicholl produces.

          9.   Provided that Nicholl complies with these terms, Honeywell will withdraw its

 motion to compel and Nicholl will withdraw its cross-motion for a protective order. Honeywell

 will accept the above as full compliance with the Subpoena.

 Dated:        January 31, 2022


  /s/Michael P. Kruszewski                            /s/Caroline Reynolds
  Michael P. Kruszewski (Pa ID #91239)                Caroline Reynolds (pro hac vice)
  QUINN, BUSECK, LEEMHUIS, TOOHEY &                   ZUCKERMAN SPAEDER LLP
  KROTO, INC.                                         1800 M St. NW, Ste. 1000
  2222 W. Grandview Blvd.                             Washington, DC 20036
  Erie, PA 16506                                      (202) 778-1859
  (814) 833-2222                                      creynolds@zuckerman.com
  mkruszewski@quinnfirm.com
                                                      Attorney for The Law Offices of Peter T.
  John J. Calandra (pro hac vice)                     Nicholl
  Guyon H. Knight (pro hac vice)
  MCDERMOTT WILL & EMERY LLP
  One Vanderbilt Avenue
  New York, NY 10017
  (212) 547-5400
  jcalandra@mwe.com
  gknight@mwe.com

  Attorneys for Honeywell International Inc.



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 SO ORDERED



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 THOMAS P. AGRESTI,
 U.S.B.J.




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